Filed 02/14/19                         Case 17-13797                               Doc 1099



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Tulare Local           Case No.: 17-13797 - B - 9
           Healthcare District
                                              Docket Control No. WW-41
                                              Date: 02/14/2019
                                              Time: 9:30 AM

           Matter: [603] - Motion/Application for Authority to Enter into
           Transaction Including Borrowing Funds, Sales of Personal Property
           and Providing Security, Assumption and Assignment of Contracts and
           Leases and for Authority to Lease Real Property [WW-41] Filed by
           Debtor Tulare Local Healthcare District (svim)

           Judge: René Lastreto II
           Courtroom Deputy: Debbie Chavez
           Reporter: Electronic Record
           Department: B
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           Debtor's Attorney - Riley C. Walter
           Respondent(s):
           None
           _____________________________________________________________________
                                       CIVIL MINUTES




           Hearing Dropped from calendar




           For the reasons stated on the record, the hearing was dropped from
           calendar.
           The court will issue an order.
